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DISTRICT OF DELAWARE
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      23-11240

      AmeriFirst Financial, Inc.




      Case Type :                       bk
      Case Number :                     23-11240
      Case Title :                      AmeriFirst Financial, Inc.
      Judge :                           Thomas M. Horan
      Courtroom :                       5th Floor Courtroom 4, Wilmington, DE
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